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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION

JONATHAN C. GASKINS,                           )
                                               )
              Petitioner,                      )
                                               )
       v.                                      )         CV 315-094
                                               )         (Formerly CR 313-007)
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )
                                          _________

                                          ORDER
                                          _________

       Petitioner, an inmate at FCI Yazoo City - Low, in Yazoo City, Mississippi, has filed

with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence.

(Doc. no. 1.)     Petitioner currently requests the deadline for him to file a reply to

Respondent’s answer be extended thirty-five days. (Doc. no. 6.) As Rule 5(e) of the Rules

Governing Section 2254 Proceedings for the United States District Courts permits the Court

to set the time for submitting a reply, the Court GRANTS Petitioner’s motion. Petitioner’s

reply shall be filed on or before April 7, 2016.

       SO ORDERED this 3rd day of March, 2016, at Augusta, Georgia.
